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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF INDIANA
                            INDIANAPOLIS DIVISION


 F. JONATHAN ZUSY,                              )
                                                )
                    Plaintiff,                  )
                                                )
       v.                                       ) CASE NO. 1:05-cv-1455-DFH-TAB
                                                )
 INTERNATIONAL MEDICAL GROUP,                   )
 INC.,                                          )
                                                )
                    Defendant.                  )


        ENTRY ON DEFENDANT’S MOTION FOR SUMMARY JUDGMENT


       As plaintiff F. Jonathan Zusy neared the end of his initial term of

 employment as general counsel for defendant International Medical Group, Inc.

 (IMG), he fulfilled one of his long-held goals by moving from Indianapolis, Indiana

 to Durango, Colorado. His job, contrary to his expectations, did not make the trip.



       Zusy claims that IMG president Joseph Brougher breached Zusy’s orally

 modified employment contract by terminating him after he moved to Colorado.

 Invoking this court’s diversity jurisdiction, Zusy has sued for (1) wrongful

 termination and breach of his employment contract; (2) promissory estoppel; (3)

 constructive fraud; and (4) wrongful repudiation of the contract. IMG has moved

 for summary judgment.           The undisputed facts show that the alleged oral

 modification is not enforceable and that Brougher and IMG owed Zusy no
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 fiduciary duty in the course of their dealings.       IMG is entitled to summary

 judgment on all claims.



                            Summary Judgment Standard


       The purpose of summary judgment is to “pierce the pleadings and to assess

 the proof in order to see whether there is a genuine need for trial.” Matsushita

 Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986). Summary

 judgment is appropriate when there are no genuine issues of material fact, leaving

 the moving parties entitled to judgment as a matter of law. Fed. R. Civ. P. 56(c).

 The moving parties must show there is no genuine issue of material fact. Celotex

 Corp. v. Catrett, 477 U.S. 317, 323 (1986). A factual issue is material only if

 resolving the factual issue might change the suit’s outcome under the governing

 law. Clifton v. Schafer, 969 F.2d 278, 281 (7th Cir. 1992). A factual issue is

 genuine only if there is sufficient evidence for a reasonable jury to return a verdict

 in favor of the non-moving party on the evidence presented. Anderson v. Liberty

 Lobby, Inc., 477 U.S. 242, 248 (1986).         In deciding a motion for summary

 judgment, a court may not assess the credibility of witnesses, choose between

 competing inferences, or balance the relative weight of conflicting evidence; it

 must view all the evidence in the record in the light most favorable to the

 non-moving party and resolve all factual disputes in favor of the non-moving

 party. See Fed. R. Civ. P. 56(c); Anderson, 477 U.S. at 255.




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                           Facts for Summary Judgment


 I.    Zusy’s Employment and Plans to Move to Colorado


       In light of the applicable standard for summary judgment, the court treats

 the following facts as true for purposes of IMG’s motion. Plaintiff F. Jonathan

 Zusy is an attorney who has been a citizen of Colorado since June 2005. Prior to

 moving to Colorado, Zusy spent decades working in Indianapolis, Indiana. In the

 late 1990s, Zusy practiced law with the Indianapolis firm of Ancel & Dunlap. As

 part of Zusy’s practice, he served as outside counsel to IMG, an Indiana

 corporation that maintains its principal place of business in Indiana. IMG is in

 the business of developing, marketing, placing, and administering various

 international medical, health and travel insurance products and services.



       In 1999, Joseph Brougher, IMG’s president, CEO, and board member,

 approached Zusy and asked if he would come to work for IMG. Zusy Dep. 22. By

 July 1999, Zusy and IMG entered into a written contract for Zusy’s employment.

 Zusy drafted the contract. Id. at 24. He agreed to serve as IMG’s general counsel,

 vice president, and secretary for “a period of approximately five (5) years,

 beginning effective July 19, 1999, and ending June 30, 2004.” Zusy Dep. Ex. 6.



       During the course of these initial negotiations, Zusy mentioned his intention

 to move eventually to Colorado. Zusy Dep. at 33. This reflected a long-standing

 desire on his part. In the early 1970s, Zusy attended the University of Colorado



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 and worked in the state for several years before relocating to California to attend

 law school. After graduating from law school, he moved to Indiana to begin

 practicing, but always intended to make his way back to Colorado. In 1997, Zusy

 bought land in Pagosa Springs, Colorado. In 2003, Zusy took further steps to

 fulfill his ambition when he purchased two parcels of land in Montezuma County,

 Colorado. Zusy Dep. 12. Zusy intended to make one of these the site of his future

 home. Even before working for IMG, Zusy already envisioned moving to Colorado

 around April 2005 – around the time his wife’s son would graduate from high

 school. Zusy Dep. 34; Zusy Aff. ¶ 23.



 II.   Second Employment Contract


       While working under the terms of his original employment contract, Zusy

 approached Brougher about amending this contract to reflect his intention to

 move eventually to Colorado, among other things. The terms of the original

 employment contract extended through June 30, 2004, but Zusy and IMG signed

 a new employment contract superseding and replacing the prior contract, effective

 January 1, 2003. Section III of this new contract is at the heart of the current

 dispute:


       This Agreement will be effective as of the 1st day of January, 2003, and will
       remain in effect for approximately two and one-half (2 1/2) years thereafter
       until the end of the Initial Term, subject to the termination and extension
       provisions hereof. The parties agree this Agreement will be automatically
       extended, without the need for any written notice, acknowledgment,
       acceptance, or other affirmative action by the parties, for additional one-
       year terms (“Extended Term[s]”) after the Initial Term, unless either party
       hereto affirmatively terminates this Agreement in writing no less than sixty

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       (60) days prior to the end of the Initial Term or any Extended Term;
       provided, however, that Employer may so terminate on thirty (30) days
       notice with respect to the Initial Term. An election to terminate solely in
       accordance with the foregoing, and not as a result of any of the
       circumstances described in Sections VIII(A)(1) or (2), below, will constitute
       a termination “without cause” under Section VIII(B), below, and will be
       subject to the provisions thereof. The parties contemplate that Employee
       will move to Durango, Colorado, in or about April of 2005, and that the
       parties thereafter will attempt to maintain the employment relationship
       under this Agreement through a “virtual office” arrangement, subject to the
       termination provisions hereof.


 Zusy Employment Contract, § III. Section VIII(B) provided that “if Employer elects

 to terminate this Agreement without cause pursuant to Section III as of the end

 of the Initial Term or any Extended Term, Employee will be entitled to receive and

 will be paid a severance payment by Employer, in cash, as of the effective date of

 termination, in the amount of $100,000.”        If IMG chose to terminate the

 employment contract without cause at any other time, Zusy was entitled to a

 severance payment of three times his annual salary. Id. In 2005, Zusy was

 compensated at an annual salary rate of $250,000. § V(A)(3). The parties also

 agreed: “This Agreement may not be amended, modified or supplemented except

 in writing, duly signed by both parties hereto.” § X(G).



       Zusy continued working for IMG under the terms of this new contract. At

 the same time, he laid more groundwork for his planned move to Colorado. In

 February 2003, he purchased 70 acres of real estate near Durango, Colorado.

 Zusy Aff. ¶ 26. In August 2004, he signed a contract giving a Colorado architect

 permission to proceed with a preliminary design of his future home. Id., ¶ 28(i).




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 In October 2004, he listed his Indianapolis home for sale with a real estate broker.

 Id., ¶ 28(iv).



 III.   Oral Modification


        Between August 2004 and March 2005, Zusy has testified that he and

 Brougher had a series of conversations about Zusy’s employment with IMG. Zusy

 told Brougher that his plans for moving back to Colorado were progressing and

 that he anticipated moving in late-spring or early-summer 2005. IMG did not

 have any offices in Colorado. Zusy claims the two sides expressed their continued

 interest in having Zusy continue working for IMG through a “virtual office” in

 Zusy’s Colorado home. Most important, Zusy alleges that he and Brougher orally

 modified his employment contract “by specifically agreeing and promising one

 another that neither IMG nor [Zusy] would invoke or exercise the pre-Initial Term

 termination clauses of the Contract.”     Zusy Aff. ¶ 27.      The effect of such a

 modification would be to allow the automatic one-year extension clause in Section

 III to take effect once the initial term lapsed without a termination notice. Id.



        In the following months, Zusy confirmed his oral modification with Brougher

 on a number of occasions. At IMG’s Christmas party in December 2004, Zusy and

 Brougher discussed the move and confirmed the oral modification. Zusy Aff.

 ¶ 28(v). Before Zusy accepted an offer on his Indianapolis home in March 2005,

 he again confirmed with Brougher that a deal was in place. Zusy Dep. 43-44;

 Zusy Aff. ¶ 28(vii). In June 2005, Zusy met again with Brougher to discuss issues

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 relating to his employment while in Colorado. Zusy Aff. ¶ 29. At no point during

 the course of these meetings did the parties ever reduce their oral modification to

 writing.   Nor did Zusy keep notes, journals, or records to document these

 conversations. Id.



       Zusy and Brougher sent each other at least one e-mail during this period

 touching on Zusy’s relocation. Zusy had been complaining about the size and

 layout of his Indianapolis office. Responding to Zusy’s concerns, Brougher wrote

 in October 2004: “You have made it known that you are leaving for Colorado in

 April. There is absolutely no reason to reconfigure the space. . . . Instead of being

 down and upset about having the largest office of any VP, I suggest that you think

 about it. 1. You have an employer that is willing to try to help you fulfill your

 desire to move to Colorado.     2. You have the largest office of any VP in the

 Company. If those two things do not satisfy you, then I am sorry, nothing will.”

 Zusy Dep. Ex. 16.



       While IMG does not dispute that Zusy expressed his desire to move to

 Colorado, it denies that Brougher ever agreed to an oral modification of the

 employment agreement. For purposes of summary judgment, however, the court

 must accept Zusy’s version on this disputed fact.




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 IV.   IMG Exercises Termination Rights


       Zusy closed on the sale of his Indianapolis home and moved to Colorado at

 the end of May 2005. At some point in either May or June 2005, Brougher

 conferred with some of IMG’s other senior officers and decided that it was in the

 best interests of IMG to have its general counsel located in Indianapolis. IMG also

 claims that Brougher wanted to hire a general counsel with more experience and

 expertise in corporate and insurance regulation.



       Whatever Brougher’s reasoning, on June 25, 2005 he sent Zusy written

 notice of his decision to terminate the employment contract at the end of the

 initial term. Brougher’s notice complied with the written terms of Section III of

 Zusy’s employment contract and served to terminate Zusy’s employment as of

 July 31, 2005. Under the written terms, Zusy was entitled to a $100,000 cash

 severance payment. § VIII(B)(1).



       After that notice, Brougher and Zusy exchanged a series of communications

 between June and July 2005.         Zusy proposed a “2-year extension to [his

 employment] agreement, with change of title to Deputy General Counsel and/or

 Chief Litigation Counsel, and at the current pay scale and benefits.” Zusy Dep.

 Ex. 10. Brougher made a counter-proposal in which the employment contract

 would still terminate on July 31, 2005, Zusy would still receive his $100,000

 severance payment, and IMG would pay him at his (then) salary for one more

 month of work. Zusy Dep. Ex. 14. Zusy rejected this offer on July 15, 2005, and

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 instead announced his resignation from “all offices and directorships at all IMG’s

 subsidiary companies effective immediately, and I hereby resign from all offices

 and directorships at all IMG effective July 31, 2005.” Id. Brougher accepted

 Zusy’s resignation and paid him his salary through July 31, 2005, in addition to

 the $100,000 severance payment. Zusy Dep. 111-14. Additional facts are noted

 below as needed, keeping in mind the standard for summary judgment.



                                     Discussion


       After Zusy received notice that his employment would not be extended past

 its initial term, he filed this suit against IMG alleging: (1) wrongful termination

 and breach of contract; (2) promissory estoppel arising from the mutual oral

 promise; (3) constructive fraud and breach of fiduciary duty; and (4) wrongful

 repudiation of the contract.



 I.    Wrongful Termination and Breach of Contract


       Zusy’s wrongful termination and breach of contract claims flow from the

 alleged oral modification to the contract that took place between plaintiff and

 Brougher in August 2004 and was allegedly reaffirmed on several occasions in the

 months that followed. This oral modification concerned the parties’ rights under

 the following rollover provision in Section III of the employment contract:


       The parties agree this Agreement will be automatically extended, without
       the need for any written notice, acknowledgment, acceptance, or other
       affirmative action by the parties, for additional one-year terms (“Extended

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       Term[s]”) after the Initial Term, unless either party hereto affirmatively
       terminates this Agreement in writing no less than sixty (60) days prior to
       the end of the Initial Term or any Extended Term; provided, however, that
       Employer may so terminate on thirty (30) days notice with respect to the
       Initial Term.


 Zusy’s theory is that when he orally agreed with Brougher that the two parties

 would not exercise their respective termination rights under Section III of the

 employment contract, they successfully modified the written terms of that section.

 This meant that an automatic term extension of one-year (originally subject to the

 timely exercise of termination rights by either Zusy or IMG) would vest and Zusy

 was therefore contractually entitled to one more year of employment with IMG

 from August 2005 through July 2006, during his first year back in Colorado.



       Zusy claims that IMG breached this orally modified agreement as Zusy’s

 initial employment term came to an end. It is undisputed that in June 2005,

 Brougher sent Zusy a termination notice that met the written requirements of

 Section III. This notice would, however, be in direct contravention of the oral

 agreement as described by Zusy in his testimony.



       IMG offers three arguments against Zusy’s claim. First, IMG argues that no

 reasonable jury could conclude that Brougher actually agreed to an oral

 modification. Second, IMG argues that the oral modification still fails due to lack

 of consideration. Third, IMG argues that the oral modification is barred by the

 Statute of Frauds. Zusy has come forward with sufficient evidence to create a

 genuine issue of material fact as to whether the two sides entered into such an

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 arrangement. Even taking this evidence in the light most favorable to Zusy, the

 alleged arrangement was not supported by consideration and the alleged

 modification is unenforceable under the Statute of Frauds.



       A.    Evidence of an Oral Modification


       Both parties recognize that the clause in Zusy’s employment contract

 requiring any modification to be in writing does not foreclose the possibility of a

 valid oral modification under Indiana common law. E.g., Sees v. Bank One,

 Indiana, N.A., 839 N.E.2d 154, 161 (Ind. 2005); TRW, Inc. v. Fox Development

 Corp., 604 N.E.2d 626, 630 (Ind. App. 1992); Skweres v. Diamond Craft Co.,

 512 N.E.2d 217, 220-21 (Ind. App. 1987); cf. Wisconsin Knife Works v. National

 Metal Crafters, 781 F.2d 1280, 1285-86 (7th Cir. 1986) (distinguishing between

 common law and more specific provisions of Uniform Commercial Code). Because

 a subsequent modification is a contract in its own right, however, it requires all

 the requisite elements of a contract. TRW, 604 N.E.2d at 630-31. This includes

 “an offer and an acceptance of the offer which meets the terms of the offer in every

 respect.” Keating v. Burton, 617 N.E.2d 588, 592 (Ind. App. 1993). The oral

 modification must also be supported by consideration in its own right.

 Buschman v. ADS Corp., 782 N.E.2d 423, 430 (Ind. App. 2003).



       IMG argues that Zusy has not come forward with enough evidence to create

 a genuine issue of material fact as to whether an offer was ever made to modify

 the written employment agreement. Zusy’s deposition, subsequent errata sheet,

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 and affidavit all describe the oral agreement in question.1 Zusy testified in his

 deposition that before moving to Colorado, he made sure that an agreement was

 in place allowing him to continue his employment with IMG.


       I remember specifically when an offer came in on my house on Sergeant
       (sic) Road, before I signed it I went to Joe [Brougher] and said, “I’m getting
       ready to sell. I got an offer. I’m getting ready to sell my house. We’ve got
       a deal, right? You are going to let me go to Colorado and live out there and
       continue to work for IMG for at least a year, correct?” “Yes,” [Brougher]
       said, “Correct. We’re going to give it a shot. Sell you’re house, John. Sign
       the thing.”


 Zusy Dep. 44. Zusy also testified:


       Joe [Brougher] and I agreed that I was going to get one year in Colorado to
       see how it was going to work. He and I agreed several times that the
       automatic extension provision of the contract – extending the contract for
       another year after the move would be – would be agreed to.




       1
         IMG has also moved to strike Zusy’s deposition errata sheet and affidavit.
 This motion is denied. In submitting an errata sheet, Zusy timely exercised his
 rights under Rule 30(e) of the Federal Rules of Civil Procedure, which allows a
 deponent thirty days to review the transcript of his deposition and to make any
 changes as to “form or substance.” The deponent may exercise this privilege by
 signing a statement reciting the changes and his reasons for making them. If the
 deponent exercises this right properly, both the original answers and the revised
 answers and the accompanying explanations become part of the record. See
 Podell v. Citicorp Diners Club, Inc., 112 F.3d 98, 103 (2d Cir. 1997); Lustig v.
 Thomas, 89 F.R.D. 639, 641-42 (N.D. Ill.1981); accord, Bullocks-Banks v. Indiana
 American Water Co., 2005 WL 1126839, at *4 (S.D. Ind. May 12, 2005). IMG
 suggests Zusy is attempting to create a sham issue of fact through his subsequent
 affidavit. The Seventh Circuit has often held that “a party cannot create a sham
 issue of fact by ‘directly contradict[ing] her own earlier statements, without
 explaining the contradiction or attempting to resolve the disparity.’” Holland v.
 Jefferson National Life Ins. Co., 883 F.2d 1307, 1314 n.3 (7th Cir. 1989), quoting
 Babrocky v. Jewel Food Co., 773 F.2d 857, 861 (7th Cir. 1985). This standard is
 not met by Zusy’s affidavit. While the affidavit enlarges upon and clarifies his
 earlier deposition testimony (thereby raising potential credibility issues), it does
 not directly contradict his deposition.

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 Zusy Dep. at 43. In the errata sheet submitted subsequent to his deposition,

 Zusy clarified this deposition testimony:


       “would be” – would be allowed to take effect on its own, and [Brougher]
       agreed that he would not invoke IMG’s termination rights until I had been
       in Colorado for at least one full year. We both agreed to modify the contract
       in those regards.


 Zusy Dep. Errata Sheet. In his affidavit filed in response to IMG’s motion for

 summary judgment, Zusy gave his most comprehensive description of the alleged

 oral modification:


       In or about the late summer of 2004, December of 2004, and March of
       2005, and at various times in between such dates and subsequent thereto,
       Brougher and I agreed to orally modify the Contract. We subsequently
       ratified and confirmed such modification during several face-to-face
       conversations that we had, by specifically agreeing and promising one
       another that neither IMG nor I would invoke or exercise the pre-Initial Term
       termination clauses of the Contract, and we both mutually acknowledged
       and agreed that we would allow the automatic one-year extension clause to
       take effect upon the expiration of the Initial Term.


 Zusy Aff. ¶ 27.



       IMG observes that during Zusy’s deposition, he was unable to recall with

 specificity when or where the oral modification was reached. Zusy could not

 identify any other witnesses to the oral modification beyond Brougher and himself.

 Nor has Zusy produced any documentation that conclusively establishes that the

 alleged oral agreement took place.2 While the absence of detail may cast doubt on


       2
        Zusy relies on an October 2004 e-mail from Brougher stating that he was
                                                                  (continued...)

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 the credibility of Zusy’s assertions, he has nevertheless come forward with enough

 specific evidence to avoid summary judgment on this issue.



       B.     Consideration for the Oral Modification


       IMG argues that the alleged oral modification between Zusy and Brougher

 should fail for lack of consideration, which is required for such a modification.

 See Hamlin v. Steward, 622 N.E.2d 535, 539 (Ind. App. 1993) (“A written

 agreement may be changed by a subsequent one orally made, upon a sufficient

 consideration”). Consideration can come in the form of a simple promise. See

 Gorbett v. Estelle, 438 N.E.2d 766, 768 (Ind. App. 1982) (“It hardly need be said

 that a promise is a valuable consideration in contract law”), citing Prell v. Trustees

 of Baird and Warner Mortgage and Realty Investors, 386 N.E.2d 1221 (Ind. App.

 1979).



       While a simple promise can constitute consideration, this promise cannot

 be illusory in nature. “An illusory promise, one which by its terms makes

 performance entirely optional with the promisor, cannot form the basis for a valid

 contract, because a contract is unenforceable if it fails to obligate [one party] to

 do anything.” Penn v. Ryan’s Family Steak Houses, Inc., 269 F.3d 753, 759 (7th

 Cir. 2001) (interpreting Indiana law on contracts) (internal quotations omitted).


       2
        (...continued)
 “an employer that is willing to try to help you fulfill your desire to move to
 Colorado.” Zusy Dep. Ex. 16. This message is not at all conclusive but is at least
 consistent with Zusy’s version of the facts.

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 “To constitute consideration, there must be a benefit accruing to the promisor or

 a detriment to the promisee.” A & S Corp. v. Midwest Commerce Banking Co.,

 525 N.E.2d 1290, 1292 (Ind. App. 1988). IMG points out that Section VIII(B) of

 Zusy’s employment contract allowed him to terminate his employment at any time

 with sixty days’ written notice.


       B.     Termination Without Cause. Either Employer or Employee may
              terminate this Agreement without cause upon giving sixty (60) days’
              prior written notice to the other party.

              ....

       2.     Termination by Employee. In the event that Employee terminates
              this Agreement without cause, Employee: (a) will be paid and/or
              provided the compensation, remuneration, and other benefits as
              provided in Sections V and VI hereof through the effective date of
              termination and, (b) at the option of Employer, will continue to render
              services hereunder through said effective date.

              Additionally, if this Agreement is terminated without cause by
              Employee, Employee will be entitled to receive and will be paid a
              severance payment by Employer, in cash, as of the effective date of
              termination, in the amount of $100,000.


 Even if Zusy orally agreed not to terminate his contract prior to the end of the

 Initial Term, Section VIII(B) would have still allowed him to terminate with sixty

 days notice, without any additional loss of benefits. Under the language of Section

 VIII(B), Zusy was never under any additional obligation to remain with IMG at the

 end of the Initial Term even if he did not exercise his Section III termination rights.

 He could leave on 60 days notice at any time (with a $100,000 severance payment,

 to boot). Zusy’s alleged promise therefore did not confer any benefit on IMG or

 constitute a detriment to himself. Because the promise was illusory, it did not



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 amount to proper consideration that could support enforcement of the alleged oral

 modification.



        C.   Statute of Frauds


        Even if Zusy’s promise had provided proper consideration, he cannot

 maintain his wrongful termination and breach of contract claim is because the

 contract, as orally modified, runs afoul of the Statute of Frauds. Under the

 applicable Statute of Frauds, a party may not bring an action based on an

 unwritten, unsigned agreement when that agreement “is not to be performed

 within one (1) year from the making of the agreement.” Ind. Code § 32-21-1-

 1(b)(5).



        Zusy observes that the oral agreement, standing alone, would not have to

 be in writing in order to satisfy the Statute of Frauds.      Zusy and Brougher

 allegedly entered into the oral agreement on or about August 23, 2004. Both

 parties agreed that neither would exercise their termination rights under the

 employment contract. For IMG, these termination rights expired on July 1, 2005

 – approximately ten months after the parties entered into the oral agreement. For

 Zusy, these termination rights expired on June 1, 2005 – approximately nine

 months subsequent to the oral agreement. Zusy argues that the terms of the oral

 agreement alleged by Zusy fall well within the one-year Statute of Frauds time

 limit. Zusy contends that because the terms of the oral agreement, taken in




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 isolation, did not run afoul of the Statute of Frauds, that agreement should

 therefore be treated as enforceable.



       Zusy’s position has some support in other states.         See, e.g., Fairview

 Radiology, P.C. v. Defiance Hosp., Inc., 413 F. Supp. 2d 874, 881 (N.D. Ohio 2005)

 (parties orally modified a written contract that fell within the Statute of Frauds;

 the modification fell outside the Statute of Frauds because its particular terms

 could have been completed within a year); Puma v. Sullivan, 746 A.2d 871, 874

 n.3 (D.C. 2000) (noting in dictum that the Statute of Frauds is not applicable to

 oral modifications that are capable of being performed within one year). The

 relevant question, however, is how Indiana courts would approach such an issue.

 As a court exercising diversity jurisdiction, the court must apply the law of

 Indiana and predict how the Indiana Supreme Court would resolve the issue.

 Equitable Life Assurance Soc. of U.S. v. Bell, 27 F.3d 1274, 1277 (7th Cir. 1994).

 Under Indiana law, the terms of an oral modification to a contract cannot be read

 in isolation for purposes of the Statute of Frauds. Rather, the court must consider

 the terms of the original written agreement, as modified.         The Restatement

 (Second) of Contracts phrases the rule in the following manner:


       For the purpose of determining whether the Statute of Frauds applies to a
       contract modifying but not rescinding a prior contract, the second contract
       is treated as containing the originally agreed terms as modified. The
       Statute may, however, apply independently of the original terms to a
       contract to modify a transfer of property.




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 Restatement (Second) of Contracts § 149(1). Consistent with this rule, Indiana

 courts have held that when “a contract affected by the statute of frauds has been

 put in writing, and afterwards orally modified, such modified agreement is also

 within the statute.” Ward v. Potts, 91 N.E.2d 643, 645 (Ind. 1950) (affirming

 dismissal of claim for breach of orally modified contract subject to statute), citing

 Nagdeman v. Cawley, 162 N.E. 68, 71 (Ind. App. 1928) (a contract required by the

 Statute of Frauds to be in writing cannot be modified or changed by a contract in

 parol); see also Soto v. Buchanon, 2007 WL 3756, at *3-4 (N.C. App., Jan. 2, 2007)

 (while orally modified terms of a lease ran only for a period of several weeks, the

 Statute of Frauds applied because the written lease exceeded three years and was

 itself subject to the Statute of Frauds); American Garment Properties, Inc. v. CB

 Richard Ellis-El Paso, L.L.C., 155 S.W.3d 431, 437 (Tex. App. 2004) (barring oral

 modifications to a contract within the Statute of Frauds when those oral

 modifications “would materially alter the parties’ written agreement”); Rex Lumbar

 Co. v. Acton Block Co., 562 N.E.2d 845, 848 (Mass. App. 1990) (stating the general

 rule that “amendments to a contract that is within the Statute of Frauds are

 themselves within the Statute of Frauds”).



       The Statute of Frauds thus bars enforcement of the subsequent oral

 agreement between Zusy and IMG. Upon modification, the agreement between

 Zusy and IMG remained within the Statute of Frauds. The contract originally

 called for a term of employment of more than two years. The effect of both sides

 forfeiting their respective termination rights would have been to extend Zusy’s



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 term of employment for an additional year. The Statute of Frauds would bar

 enforcement of such a contract in the absence of a signed writing from IMG.

 Because Zusy and IMG’s subsequent oral agreement must be read as

 incorporating the terms of the original written agreement (as modified), the fact

 that this modified agreement was not signed or in writing therefore renders it

 unenforceable under Indiana law.3



 II.   Promissory Estoppel


       Zusy does not have a claim for breach of his orally modified employment

 contract, but it remains at least theoretically possible for him to secure relief on

 a theory of promissory estoppel.     Promissory estoppel would offer only more

 limited reliance damages rather than the benefit of the alleged (but unenforceable)

 bargain. Jarboe v. Landmark Community Newspapers of Indiana, Inc., 644 N.E.2d

 118, 122 (Ind. 1994), citing with approval D&G Stout, Inc. v. Bacardi Imports, Inc.,

 923 F.2d 566, 569 (7th Cir. 1991). Indiana law requires five elements to gain


       3
         Plaintiff’s brief in opposition to summary judgment raises an additional
 theory of breach. Zusy argues that IMG materially breached the employment
 contract by cutting off his access to IMG’s computer system after he tendered his
 resignation letter on July 18, 2005. See Zusy Dep. Ex. 14. Zusy claims IMG’s
 actions made it impossible to perform his work duties through July 31, 2005, the
 date Zusy stated that his resignation would become effective. A reasonable jury
 could not conclude that IMG materially breached the employment contract by
 restricting Zusy’s system access after he declared that he was leaving IMG. IMG
 continued to pay Zusy his full salary through July 31, 2005. Zusy himself
 acknowledged being on vacation through this period, and he has failed to point
 to any duties he was kept from performing or any injury he suffered as a result of
 the claimed breach. Section VIII(B)(2) of the employment contract gave IMG the
 option of having Zusy continue rendering his services once he terminated the
 contract without cause. Zusy’s additional theory of breach therefore fails.

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 relief on a claim for promissory estoppel:      (1) a promise; (2) made with the

 expectation that the promisee will rely thereon; (3) which induces reasonable

 reliance by the promisee; (4) of a definite and substantial nature; and (5) injustice

 can be avoided only by enforcing the promise. Truck City of Gary, Inc. v. Schneider

 Nat. Leasing, 814 N.E.2d 273, 279 (Ind. App. 2004), citing Weinig v. Weinig,

 674 N.E.2d 991, 997 (Ind. App. 1996).



       The added wrinkle of Zusy’s promissory estoppel claim is the fact that the

 oral promise he seeks to enforce runs afoul of the Statute of Frauds. Indiana

 courts have held that enforcement of a promise otherwise unenforceable because

 of the Statute of Frauds is permissible to avoid injustice only when “the other

 party’s refusal to carry out the terms of the agreement has resulted not merely in

 a denial of the rights which the agreement was intended to confer, but the

 infliction of an unjust and unconscionable injury and loss.” Whiteco Industries,

 Inc. v. Kopani, 514 N.E.2d 840, 845 (Ind. App. 1987), quoting Starkey v. Galloway,

 84 N.E.2d 731, 734 (Ind. App. 1949). Put another way, “neither the benefit of the

 bargain itself, nor mere inconvenience, incidental expenses, etc. short of a reliance

 injury so substantial and independent as to constitute an unjust and

 unconscionable injury and loss are sufficient to remove the claim from the

 operation of the Statute of Frauds.” Whiteco Industries, 514 N.E.2d at 845.




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 Without such a showing, the party seeking enforcement on estoppel grounds

 cannot avoid the consequences of the Statute of Frauds.4



       IMG argues that Zusy’s promissory estoppel claim fails because: (a) there

 is no genuine issue of fact as to whether Brougher ever made Zusy an oral

 promise regarding IMG’s exercise of its termination rights; (b) even if Brougher

 had made such a promise, it could not have induced reasonable reliance on the

 part of Zusy; and that (c) Zusy did not suffer unjust and unconscionable injury

 and loss.



       IMG’s first argument fails because, as discussed above, there is a genuine

 issue of material fact as to whether Brougher promised that IMG would not invoke

 its pre-termination rights under Section III of the employment contract.



       IMG’s second argument is that Zusy could not have reasonably relied on

 Brougher’s alleged promise in light of language in Section X of the contract: “This




       4
       The court in Whiteco Industries gave a straightforward and prudent
 explanation for why Indiana courts have adopted this heightened requirement for
 promissory estoppel claims implicating the Statute of Frauds:

       Were this not the rule the statute would be rendered virtually meaningless
       because the frustrated claimant would always assert an oral
       promise/agreement to defeat by means of estoppel the statute’s requirement
       for a written one. The contest would then concern the credibility of the
       evidence of an oral promise or agreement. That, of course, is precisely what
       the statute seeks to avoid.

 514 N.E.2d at 844.

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 Agreement may not be amended, modified, or supplemented except in writing,

 duly signed by both parties hereto.” IMG cites no directly applicable authority for

 this proposition.   Nor is IMG’s argument persuasive in light of the fact that

 Indiana law does not construe such clauses strictly, as noted above. Zusy has

 even stated that he was aware of that point of law when negotiating with IMG, a

 plausible assertion given his decades-long practice in Indiana.



       Nevertheless, IMG is entitled to summary judgment on Zusy’s promissory

 estoppel claim because Zusy cannot establish that he suffered injury and losses

 that are unjust and unconscionable as the terms have been defined by Indiana

 courts. Under similar circumstances, Indiana courts have held that injuries and

 losses of the kind suffered by Zusy do not rise to the level necessary for

 promissory estoppel to save an oral promise from the Statute of Frauds.



       Indiana case law has yet to address directly a case such as this, where an

 employee’s current employer promises what amounts to continued employment

 for one year, a promise which the employee then relies upon to the extent that he

 moves to another state and leaves behind his previous home.            The Indiana

 Supreme Court has decided a case involving the same kinds of injury alleged by

 Zusy. In Brown v. Branch, 758 N.E.2d 48 (Ind. 2001), the appellant-defendant

 (Brown) reneged on an oral promise to convey a house in Indiana to his appellee-

 plaintiff girlfriend (Branch). Anticipating that a house was waiting for her, Branch

 abandoned her previous job, dropped out of college, and relocated to Indiana from



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 Missouri. Id. at 53. The trial court awarded the house to Branch under a theory

 of promissory estoppel. The Indiana Supreme Court reversed, holding as a matter

 of law that the kinds of injuries and losses suffered by Branch could not be

 considered unjust and unconscionable, and therefore could not save the oral

 promise from the Statute of Frauds. Id.



        In this case, the court must assume that Brougher promised Zusy that if he

 moved to Colorado, IMG was still committed to providing what amounted to a one-

 year term of employment. Relying on Brougher’s assurances, Zusy went ahead

 with a plan to move to Colorado, just as Branch moved from her out-of-state home

 to come to Indiana. Making this case less compelling than the circumstances in

 Branch is that while the specifics of Zusy’s move were perhaps influenced by

 Brougher’s assurances of job security, the general parameters existed in Zusy’s

 mind long before he even began working for IMG in 1999. Fulfilling his personal

 ambition to move back to Colorado, Zusy discovered that the one-year term he

 says he had been promised was – like the house in Brown – not forthcoming.

 Zusy instead received a $100,000 severance package. Because Zusy cannot show

 that the injury and loss he allegedly suffered were unconscionable and unjust, the

 Statute of Frauds bars his promissory estoppel claim as well.



 III.   Constructive Fraud and Breach of Fiduciary Duty


        Like promissory estoppel, constructive fraud is an equitable doctrine that

 can, in theory, provide a basis for avoiding the Statute of Frauds. Ohio Valley

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 Plastics, Inc. v. National City Bank, 687 N.E.2d 260, 263 (Ind. App. 1997) (“equity

 will not permit the Statute of Frauds to be used to perpetrate fraud”). Zusy claims

 that Brougher’s oral promise that IMG would not exercise its Section III

 termination rights and that Zusy would therefore have an additional one-year

 term of employment amounted to constructive fraud. The law of constructive

 fraud is designed “to protect the weak and credulous from the wiles and

 stratagems of the artful and cunning, as well as those whose vigilance and

 sagacity enable them to protect themselves.” Plymale v. Upright, 419 N.E.2d 756,

 762 (Ind. App. 1981), quoting McKee v. State, 12 N.E. 510, 511 (Ind. 1887).



       To achieve this purpose, Indiana courts apply a two-step process. Zusy has

 the initial burden of (1) proving defendant owed him a fiduciary duty,5 and (2) that

 defendant gained an advantage over him. Morfin v. Estate of Martinez, 831 N.E.2d

 791, 802 (Ind. App. 2005); Strong v. Jackson, 777 N.E.2d 1141, 1147 (Ind. App.

 2002). If plaintiff can meet this initial burden, a presumption of fraud attaches

 and   the   defendant   must    show   that   he   made   no   deceptive   material

 misrepresentations of past or existing facts or did not remain silent when a duty

 to speak existed, or that the complaining party did not rely on any such

 misrepresentation or silence, or that no injury proximately resulted from the

 misrepresentation or silence. Morfin, 831 N.E.2d at 802.


       5
        While the duty at issue in a constructive fraud case is typically fiduciary
 in nature, courts have also recognized a duty “where there is a buyer and a seller,
 where one party may possess knowledge not possessed by the other and may
 thereby enjoy a position of superiority over the other.” Porter County Development
 Corp. v. Citibank (South Dakota), N.A., 855 N.E.2d 306, 311 (Ind. App. 2006).

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       Zusy’s constructive fraud claim fails at the initial step. He cannot show that

 IMG or Brougher owed him a fiduciary duty. For a fiduciary relationship to exist,

 there must be confidence by one party in another, and the party reposing the

 confidence must also be in a position of inequality, dependence, weakness, or lack

 of knowledge. Crowe, Chizek, and Co., LLP v. Oil Tech., Inc., 771 N.E.2d 1203,

 1210 (Ind. App. 2002). “The dominant party’s wrongful abuse of this confidence

 for its own gain breaches the relationship.” Heaton & Eadie Professional Services

 Corp. v. Corneal Consultants of Indiana, P.C., 841 N.E.2d 1181, 1189 (Ind. App.

 2006). Examples of common relationships where Indiana courts have recognized

 the potential for a fiduciary duty include “relations of attorney and client, principal

 and agent, husband and wife, and parent and child.” Sanders v. Townsend,

 582 N.E.2d 355, 358 (Ind. 1991). In light of the reference to attorney-client

 relationships, it is worth noting that the attorney (like Zusy) owed a fiduciary duty

 to the client (IMG), not the other way around.



       Zusy argues that corporate officers, like Brougher and himself, should also

 be recognized as fiduciaries to one another. The Indiana Supreme Court has

 written that a corporate officer “must deal fairly, honestly, and openly with his

 corporation and fellow stockholders.” G & N Aircraft, Inc. v. Boehm, 743 N.E.2d

 227, 240 (Ind. 2001), quoting Hartung v. Architects Hartung/Odle/Burke, Inc.,

 301 N.E.2d 240, 243 (Ind. App. 1973). Plaintiff cites no authority, however,

 indicating that Brougher’s fiduciary responsibilities extended to other non-

 shareholding officers such as Zusy. See Needham v. Innerpac, Inc., 2006 WL



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 2710617, at *14 (N.D. Ind. Sept. 19, 2006) (“the mere breach of an employment

 contract is insufficient to give rise to a claim of constructive fraud”), citing Gross v.

 University of Chicago, 302 N.E.2d 444, 453-54 (Ill. App. 1973) (employer/employee

 relationship does not create a fiduciary duty on the part of the employer).



       Moreover, while officers and directors owe fiduciary duty to corporation as

 well as corporate stockholders, this is so only regarding matters that affect the

 general well-being of a corporation. Biberstine v. New York Blower Co., 625 N.E.2d

 1308, 1318 (Ind. App. 1993).          In Biberstine, a former vice president and

 shareholder of the defendant corporation claimed that the corporate directors

 breached their fiduciary duty to him when they terminated his employment,

 among other things. The court recognized that officers and directors generally owe

 a fiduciary duty to the corporation as well as to shareholders, but held: “Where

 the actions of a director affect the individual rights of a stockholder rather than

 interests of the corporation or stockholders generally, no fiduciary duty exists.”

 Id. Applying Biberstine to this case, even if Zusy had been a shareholder of IMG,

 Brougher’s alleged actions affected no more than plaintiff’s individual rights as an

 employee. Brougher affected Zusy’s personal employment and his plan to move

 to Colorado while still drawing a paycheck from IMG. Though Brougher may have

 misled Zusy, he did not try to mislead the corporation or the stockholders




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 generally. Because Brougher did not owe Zusy a fiduciary duty, the constructive

 fraud claim fails on the first element, without reaching the other elements.6



 IV.   Wrongful Repudiation


       Zusy’s final claim for wrongful repudiation fails for the same reason his

 breach of contract claim fails. He cannot establish the existence of an enforceable

 contract to extend his employment with IMG.



                                    Conclusion


       For these reasons, defendant’s motion for summary judgment is granted as

 to all of Zusy’s claims. Final judgment shall be entered accordingly.



       So ordered.


 Date: June 12, 2007
                                               DAVID F. HAMILTON, JUDGE
                                               United States District Court
                                               Southern District of Indiana




       6
        For these same reasons, IMG is also entitled to summary judgment on
 Zusy’s claim for breach of fiduciary duty inCount IV of his amended complaint.

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